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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                  :
 ASHLEY MARTINEZ,                                                 :
                                              Plaintiff,          :   22 Civ. 2596 (LGS)
                                                                  :
                            -against-                             :         ORDER
                                                                  :
 DISCOVER FINANCIAL SERVICES, INC.,                               :
 et al..,                                                         :
                                              Defendants.         :
 -------------------------------------------------------------    X

LORNA G. SCHOFIELD, District Judge:

        The Court has been informed that the parties have reached a settlement in principle in this case.

Accordingly, it is hereby ORDERED that this action is dismissed without costs and without prejudice to

restoring the action to the Court’s calendar, provided the application to restore the action is made within

forty-five (45) days of this Order. Any application to reopen filed after forty-five (45) days from the

date of this Order may be denied solely on that basis. Any pending motions are DENIED as moot, and

all conferences and deadlines are CANCELLED.

Dated: June 2, 2022
       New York, New York
